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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

TONY J. BRISKER,                       *
                                       *
       Plaintiff,                      *
                                       *
v.                                     * Civil Action No.05-00091-BH-B
                                       *
JO ANNE B. BARNHART,                   *
Commissioner of                        *
Social Security,                       *
                                       *
       Defendant.                      *


                        REPORT AND RECOMMENDATION

       This matter is before the Court on Plaintiff’s Motion for

Award of Attorneys’ Fees, and supporting memoranda (Docs. 17,

18).    This action was referred to the undersigned Magistrate

Judge for report and recommendation pursuant to 28 U.S.C. §

636(b)(1)(B) and Local Rule 72.2(c)(3).            Upon consideration of

the    pertinent    pleadings,    it   is   the   recommendation    of   the

undersigned      that    Plaintiff     should     receive   a   reasonable

attorney's fee in the amount of $375.00.

                          I.   Findings Of Fact

       1.   Plaintiff filed this action on February 15, 2005.

(Doc. 1).      On September 12, 2005, the Court entered Judgment

pursuant to sentence four of 42 U.S.C. § 405(g), and reversed

and remanded this cause to the Commissioner of Social Security

for further proceedings.         (Docs. 15).
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       2.        Plaintiff's Motion for attorneys' fees, and memorandum

in support thereof, were filed on November 14, 2005.                         (Docs. 17,

18).       In the application, Plaintiff requests an attorney's fee

award of $375.00.            (Id.)     The attorney's fee award represents a

total of 3 hours, at an hourly rate of $125.00 for attorney time

spent representing Plaintiff in this Court.

       3.        The   Commissioner       of       Social   Security     has      filed   a

Response to Plaintiff's Motion, and states that the Commissioner

has no objection to Plaintiff's application.                        (Doc. 20).

                              II.    Conclusions Of Law

       1.        The Equal Access to Justice Act (EAJA) requires a

district court to “award to a prevailing party . . . fees and

other expenses . . . incurred by that party in any civil action

. . . , including proceedings for judicial review of agency

action, brought by or against the United States . . . , unless

the court finds that the position of the United States was

substantially justified or that special circumstances make an

award unjust.”            28 U.S.C. § 2412(d)(1)(A).                 The Commissioner

does       not    dispute     the    issues        of   prevailing     party      status, 1

timeliness,2 or substantial justification.


       1
          “[A] party who wins a sentence-four remand order is a prevailing
party.”    Shalala v. Schaefer, 509 U.S. 292, 302 (1993).

       2
        The EAJA requires a prevailing party to file an application for
attorney’s fees within thirty (30) days of final judgment in the action.     28

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      2.      With regard to a determination of the hourly rate to

apply in a given EAJA case, the express language of the Act, as

recently amended,3 provides, in pertinent part, as follows:

      The amount of fees awarded under this subsection shall
      be based upon prevailing market rates for the kind and
      quality of the services furnished, except that . . .
      attorneys fees shall not be awarded in excess of
      $125.00 per hour unless the court determines that an
      increase in the cost of living or a special factor,
      such as the limited availability of qualified
      attorneys for the proceedings involved, justifies a
      higher fee.

28 U.S.C. § 2412(d)(2)(A).

      3.      In Meyer v. Sullivan, 958 F.2d 1029 (11th Cir. 1992),

the   Court     determined       that    the    EAJA    establishes       a   two-step

analysis for determining the appropriate hourly rate to be

applied in calculating attorneys' fees under the Act:

      The first step in the analysis, . . . is to determine
      the market rate for “similar services [provided] by
      lawyers of reasonably comparable skills, experience,
      and reputation.” . . . The second step, which is
      needed only if the market rate is greater than
      [$125.00] per hour, is to determine whether the court
      should adjust the hourly fee upward from [$125.00] to


U.S.C. § 2412(d)(1)(B). The thirty (30) day clock did not begin to run in
this action until this Court’s Order of Judgment dated September 12, 2005
(Doc. 15) became final, which would have occurred at the end of the sixty (60)
days for appeal provided under Fed. R. App. P. 4(a)(1). See Shalala, 509 U.S.
at 302. Because Plaintiff’s motion was filed on November 14, 2005 (Docs. 17,
18), it is found to be timely filed.

      3
        On March 29, 1996, the EAJA was amended so as to increase the statutory
cap on EAJA fees from $75.00 per hour to $125.00 per hour. See, e.g, Ikner v.
Apfel, 2000 WL 1844704, *2 n.1 (S.D. Ala. Nov 9, 2000). These amendments
apply to civil actions commenced on or after the date of enactment; therefore,
the statutory cap of $125.00 per hour applies in this present action.

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     take into account an increase in the cost of living,
     or a special factor.

Id. at 1033-34 (citations and footnote omitted).

     4.     The prevailing market rate in the Southern District of

Alabama has been previously determined to be $125.00 per hour.

See Boggs v. Massanari, C.A. 00-0408-P-C (S.D. Ala. (Jun. 13,

2001)); Boone v. Apfel, C.A. 99-0965-CB-L (S.D. Ala. (Aug. 30,

2001)).      Because   the   market   rate   is   not   greater   than   the

statutory rate of $125.00 per hour, this Court need not reach

the second step of the Meyer analysis.

     5.     With regard to the reasonableness of the hours claimed

by Plaintiff’s attorney, “[t]he fee applicant bears the burden

of establishing entitlement and documenting the appropriate

hours and hourly rates.”         Norman v. Housing Auth. of City of

Montgomery, 836 F.2d 1292, 1303 (11th Cir. 1988).           “[T]he measure

of reasonable hours is determined by the profession’s judgment

of the time that may be conscionably billed and not the least

time in which it might theoretically have been done.”                Id. at

1306.

     6.     In the case sub judice, attached to Plaintiff’s motion

is a time sheet detailing the description of work performed, the

time expended and the date on which the work was performed.

(Doc. 17 at 3).      The undersigned has reviewed this document and

Defendant's response, and finds that, under the circumstances,

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and given the usual number of hours billed by attorneys in

similar actions, Plaintiff is entitled to 3 hours of attorney

time expended representing Plaintiff in federal court.

                            III.    CONCLUSION

      Therefore, upon consideration of the pertinent pleadings,

the undersigned Magistrate Judge RECOMMENDS that Plaintiff’s

Motion For Award of Attorneys' Fees Pursuant to the Equal Access

to Justice Act 28 U.S.C. § 2412 be GRANTED, and that the award

be   limited   to   the   EAJA   rate   of    $125.00   per   hour,   thereby

resulting in an award of $375.00 for 3 attorney hours spent

representing Plaintiff in connection with this action.

      The attached sheet contains important information regarding

objections to the report and recommendation of the Magistrate

Judge.

      DONE this 21st day of November, 2005.


                                                /s/ Sonja F. Bivins
                                            UNITED STATES MAGISTRATE JUDGE




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     MAGISTRATE JUDGE’S EXPLANATION OF PROCEDURAL RIGHTS
        AND RESPONSIBILITIES FOLLOWING RECOMMENDATION
         AND FINDINGS CONCERNING NEED FOR TRANSCRIPT

1.   Objection. Any party who objects to this recommendation or
anything in it must, within ten days of the date of service of
this document, file specific written objections with the clerk
of court. Failure to do so will bar a de novo determination by
the district judge of anything in the recommendation and will
bar an attack, on appeal, of the factual findings of the
magistrate judge. See 28 U.S.C. § 636(b)(1)©); Lewis v. Smith,
855 F.2d 736, 738 (11th Cir. 1988).         The procedure for
challenging the findings and recommendations of the magistrate
judge is set out in more detail in SD ALA LR 72.4 (June 1,
1997), which provides, in part, that:

    A party may object to a recommendation entered by a
    magistrate judge in a dispositive matter, that is, a
    matter excepted by 28 U.S.C. § 636(b)(1)(A), by filing
    a “Statement of Objection to Magistrate Judge’s
    Recommendation” within ten days after being served
    with a copy of the recommendation, unless a different
    time is established by order.       The statement of
    objection shall specify those portions of the
    recommendation to which objection is made and the
    basis for the objection.    The objecting party shall
    submit to the district judge, at the time of filing
    the objection, a brief setting forth the party’s
    arguments that the magistrate judge’s recommendation
    should be reviewed de novo and a different disposition
    made. It is insufficient to submit only a copy of the
    original brief submitted to the magistrate judge,
    although a copy of the original brief may be submitted
    or referred to and incorporated into the brief in
    support of the objection. Failure to submit a brief
    in support of the objection may be deemed an
    abandonment of the objection.

     A magistrate judge’s recommendation cannot be appealed to
a Court of Appeals; only the district judge’s order or judgment
can be appealed.

2.   Opposing party’s response to the objection. Any opposing
party may submit a brief opposing the objection within ten (10)
days of being served with a copy of the statement of objection.
Fed. R. Civ. P. 72; SD ALA LR 72.4(b).
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3.   Transcript (applicable where proceedings tape recorded).
Pursuant to 28 U.S.C. § 1915 and Fed.R.Civ.P. 72(b), the
magistrate judge finds that the tapes and original records in
this action are adequate for purposes of review.      Any party
planning to object to this recommendation, but unable to pay the
fee for a transcript, is advised that a judicial determination
that transcription is necessary is required before the United
States will pay the cost of the transcript.

                                        /s/ SONJA F. BIVINS
                                       UNITED STATES MAGISTRATE JUDGE
